as Case 1:17-cv-00608-SCY-KK Document 4 Filed 06/08/17 Page 1 of 2

AO 440 (Rev. 06/12) Summons in a Civil Action

UNITED STATES DISTRICT COURT

for the

District of New Mexico

WESTWOOD CONTRACTORS, ING

 

Plaintiff(s)

v. Civil Action No. 1:17-cv-00608-SCY-KK

R&B DRYWALL PROFESSIONALS, INC.,
WELLS FARGO BANK, NA

 

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Defendant(s)

SUMMONS IN A CIVIL ACTION

To: (Defendant's name and address) WELLS FARGO BANK, NA

clo CORPORATION SERVICE COMPANY, REGISTERED AGENT
123 EAST MARCY STREET, SUITE 101

SANTA FE, NM 87501

A lawsuit has been filed against you.

Within 21 days after service of this summons on you (not counting the day you received it) — or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P. 12 (a)(2) or (3) — you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiff's attorney,
whose name and address are: MICHAEL R. COMEAU

COMEAU MALDEGEN TEMPLEMAN & INDALL, LLP
141 EAST PALACE AVENUE
SANTA FE, NM 87501

If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
You also must file your answer or motion with the court.

Date: Monday, June 05, 2017

 

 

 
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Case 1:17-cv-00608-SCY-KK Document 4 Filed 06/08/17 Page 2 of 2

AO 440 (Rev. 06/12) Summons in a Civil Action (Page 2)

Civil Action No. 1:17-cv-00608-SCY-KK

PROOF OF SERVICE
(This section should not be filed with the court unless required by Fed. R. Civ. P. 4 (1))

This summons for (name of individual and title, if any) Wells Fargo fan IC nn. A.
was received by me on (date) —_[g Slit . :

© | personally served the summons on the individual at (place)

 

on (date) 0r

 

1 I left the summons at the individual’s residence or usual place of abode with (name)

, aperson of suitable age and discretion who resides there,

 

ra ae nce Yo rptyatiom Sewice Co.

I served the summons on (name of individual) Karen Hunt (Aq ént 5 , who is
designated by law to accept service of process on behalf of (name of organization)

WEUS fawqo Bank AA. on (date) Up LF 5 or

IT returned the summons unexecuted because ‘or

i , and mailed a copy to the individual’s last known address; or

 

 

O Other (specify):

@ ip). 02 AY OF
My fees are $ LO . for travel and $ for services, for a total of $ 0.00 ’

I declare under penalty of perjury that this information is true,

bas, tole Ghy

Server's signature

Patnun  Maestus

Printed name and title

[02 &. water Street ste 8 SFA 8790 |

Server’s address

Additional information regarding attempted service, etc:
